211 West Fort Street
Detroit, MI 48226


                                    UNITED STATES BANKRUPTCY COURT
                                          Eastern District of Michigan

                                           Case No.: 09−48174−swr
                                                 Chapter: 7

In Re: (NAME OF DEBTOR(S))
   Kevin Roland Iott                                    Laura Sue Iott
   5670 Sylvania Petersburg                             5670 Sylvania Petersburg
   Petersburg, MI 49270                                 Petersburg, MI 49270
Social Security No.:
   xxx−xx−2634                                          xxx−xx−2643
Employer's Tax I.D. No.:


                                        NOTICE OF DEFICIENT FILING


       It has been determined that the following document(s) are Missing and/or Non−Compliant:

       Re #63 and #64 Request to be Removed from Receiving Notices

       is defective as indicated:

           Acceptable Matrix
           Acceptable Matrix Not Uploaded
           Amendment Cover Sheet
           Amended Document
           Application for Waiver of Filing Fee
           Attorney Disclosure of Compensation Statement (LBR 9010−1(c))
           Bankruptcy Petition Cover Sheet
           Bankruptcy Matter Civil Case Cover Sheet Missing
           Brief
           Certificate of Exigent Circumstances − Credit Counseling Waiver
           Debtors Statement of Corporate Ownership
           Electronic Signature does not match login
           Electronic Signature Missing or Incorrect Format ECF Procedure 11(d)(1)
           List of 20 Largest Unsecured Creditors
           Motion for Approval of Certificate of Exigent Circumstances
           Motion to Convert under 11 U.S.C. § 706(a) (Rule 9013)
           Notice of Objection to Claim
           Notice to Respondent
           Original Signature
           Proof of Service
           Proposed Order
           Reaffirmation Agreement Cover Sheet
           Statement of Corporate Ownership LBR 9013−5


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A corrected/missing document is required within seven (7) days of this notice. If not corrected, the
case may be dismissed or an order striking the document from the record may be entered by the
Court. The new document filed should be identified as "CORRECTED".

If you do not have an attorney and need procedural assistance, please contact the pro se law
clerk at (866) 478−4436, or (313) 234−0074 or email at prose@mieb.uscourts.gov. There is no
charge for this service.


Dated: 5/13/11

                                                   BY THE COURT

                                                   Katherine B. Gullo , Clerk of Court
                                                   U.S. Bankruptcy Court




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